
BRADY, Justice.
We have carefully reviewed appellant’s application for leave to file a petition for writ of error coram nobis, the petition with supporting affidavits, together with an application for stay of execution of sentence, and the release of the appellant until such time as this Court has ruled on his petition for writ of error coram nobis or until final disposition of his petition.
We find that the appellant’s application and affidavits recite sufficient requisite facts in compliance with the provisions of Mississippi Code Annotated section 1992.5 (1956), and related statutes, to justify and require the granting of the application for an order permitting the filing of a petition for a writ of error coram nobis in the above styled and numbered cause.
It is therefore ordered that the appellant be and he is hereby permitted to file a petition for a writ of error coram nobis in the Circuit Court of Leake County, Mississippi. When said writ has been duly filed in the Circuit Court of Leake County, Mississippi, then that court or the judge in vacation may also consider any application for stay of *820execution of sentence, and the release of the petitioner on bond.
Application for leave to file in trial court petition for writ of error coram nobis sustained.
All Justices concur.
